       Case 1:24-cv-05531-NRB                Document 12           Filed 10/08/24   Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------X
LUIS MARTINEZ,
                                                                          Civil Action No.
                                   Plaintiff,                             1:24-CV-05531

                 -against-                                                STIPULATION AND
                                                                          ORDER OF
MERCHANTS NATIONAL PROPERTIES, d/b/a                                      VOLUNTARY
MARX REALTY, LLC,                                                         DISMISSAL PURSUANT
                                                                          TO FRCP 41


                                     Defendant.
---------------------------------------------------------------------X


         WHEREAS at the time of filing the above action on July 22, 2024 Plaintiff alleged,

upon information and belief, that the Court had subject matter jurisdiction based upon complete

diversity of the parties’ citizenship;

         WHEREAS at the time of filing of the Action on July 23, 2024 Plaintiff was a

resident of the State of New York;

         WHEREAS defendant MERCHANTS NATIONAL PROPERTIES, INC. named

hererin as "MERCHANTS NATIONAL PROPERTIES" principal offices at the time of filing

of the action on July 23, 2024, were in the City and State of New York;

         WHEREAS it now appears that subject matter jurisdiction pursuant to 28 U.S.C. § 1332

is absent due to Plaintiff's and defendant MERCHANTS NATIONAL PROPERTIES, INC.'s

common citizenship; it is hereby jointly

         STIPULATED AND AGREED, that pursuant to FRCP 4l(a)(l)(A(ii), this action is

hereby voluntarily withdrawn without prejudice and without costs or disbursements to any party.

This Stipulation can be executed in counterparts by electronic means.




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      Case 1:24-cv-05531-NRB    Document 12    Filed 10/08/24   Page 2 of 2




Dated: New York, NY
       September 20, 2024

GERBER CIANO KELLY BRADY LLP               JON L. NORINSBERG, ESQ., PLLC
Attorneys for defendant                    Attorney for plaintiff

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SO ORDERED:


_____________________________
  U.S.D.J.




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